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                                                                                          EFILED IN OFFICE
                                                                                     CLERK OF STATE COURT
                                                                                     BIBB COUNTY, GEORGIA
                                                                                   21-SCCV-092526
                          IN THE STATE COURT OF BIBB COUNTY                                  JBH
                                   STATE OF GEORGIA                                 FEB 24, 2021 09:37 AM

                                                                                          ~~~.~.,.,.Q
DORETHA HARDEN,                                                                       Patricia M. Greve , lark of State Court
                                                                                                        Bibb County, Georgia



        Plaintiff,                                     CIVIL ACTION NO.

►~~

FAMILY DOLLAR STORES OF                       ,
GEORGIA, LLC,
    Defendant.


                                          COMPLAINT


        COMES NOW, Doretha Harden, Plaintiff, and makes and files this complaint against
Defendant Family Dollar Stores of Georgia, LLC, as follows:


                                PARTIES AND JURISDICTION
                                                  1.
       Plaintiff, Doretha Harden, is a resident of Bibb County, Georgia, and is subject to the
jurisdiction of this court.
                                                  2.
       Family Dollar Stores of Georgia, LLC, is a is a foreign limited liability company existing
under the laws of Virginia with its principal place of business in Virginia and may be served
through its registered agent Corporation Service Company at 40 Technology Pkwy South, Suite
300, Norcross, Georgia, 30092, and is subject to the jurisdiction of this court.
                                                  3.
       Pursuant to Article VI, Section II, Paragraph VI of the Georgia Constitution, Article VI,
Section II, Paragraph IV of the Georgia Constitution, u.C.G.A. § 14-2-510, and G.C.~.A. § 9-10-
31, venue is proper against Defendant in this Court
                                        BACKGROUND
                                                  4.
       On November 7, 2018, Plaintiff was an invitee at The Family Dollar Store (hereinafter
"Premises") located at 800 Pio Nono Avenue in Macon, Georgia.

                                                                                              EXHIBIT
                                                                                     k~       ~,         11
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                                                   5.
        Plaintiff slipped and fell on an unknown foreign substance on the floor of the premises.
                                                   6.
        There were no cones or other warnings in the area ofthe foreign substance at the time ofthe
fall.
                                                   7.
        Defendant had exclusive ownership, possession and control over the premises at all times
relevant to this litigation.
                                                   8.
        As a result ofPlaintiffs fall as pled in paragraph 5, she suffered severe injuries to her knees
and back. As a direct and proximate result ofPlaintiff's fall and injuries, Plaintiff incurred necessary
and reasonable medical expenses in excess of$100,000.00.


                                              COUNT 1
                                     PREMISES LIABILITY
                                                   9.
        Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through
8 above as if fully restated.
                                                  10.
        Plaintiff was an invitee on the premises at the time ofthe fall.
                                                  11.
        Defendant owed a nondelegable duty of reasonable care in keeping the premises safe for
invitees such as plaintiff.
                                                  12.
        Defendant was negligent in filing t~ prc~p~rly inspect the area where the fall occurred, in
failing to remove the hazard from the floor, in failing to take adequate measures to protect invitees
from substances on the floor and in failing to keep the premises safe for invitees.


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                                                 13.
        Defendant's negligence was the proximate cause ofPlaintiff's injuries.


                                             COUNT 2
                                    VICARIOUS LIABILITY
                                                 14.
       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through
13 above as if fully restated.
                                                 15.
       At all times relevant to this action, the individuals responsible for inspecting, cleaning and
maintaining the area where Plaintifffell were employed by Defendant and were acting within the
scope of their employment.
                                                16.
       Defendant is responsible for the conduct of these individuals under the doctrine of
respondeat superior, agency or apparent agency.


                                            COUNT 3
                             NEGLIGENT TRAINING &SUPERVISION
                                                17.
       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through
16 above as if fully restated.
                                                18.
       Defendant was negligent in failing to adopt appropriate policies and procedures to make
sure that appropriate inspections, cleaning and maintenance were performed on the premises and
in failing to train its employees concerning safety procedures for inspecting, cleaning and
maintaining the premises.
                                                19.
       Defendant was negligent in training and supervising its staff.



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       As a result of Defendant's negligence in training and supervising its employees, plaintiff was
injured on the premises.
       WHEREFORE, Plaintiff prays that she have a trial on all issues and judgment against
Defendant as follows:
       (a)     That Plaintiff recover the full value of past and future medical expenses in an
amount to be proven at trial;
       (b)     That Plaintiff recover for mental and physical pain and suffering and emotional
distress in an amount to be determined by the enlightened conscience of the jury;
       (c)     That Plaintiff recover such other and further relief as is just and proper;
       (d)     That all issues be tried before a jury.


       Respectfully submitted, this 24th day of February, 2021.


                                                         /s/ Austin R. Goble
                                                         AUSTIN R. GOBLE
                                                         Georgia Bar Number: 193153
                                                         Attorney for Plaintiff
MAYO HILL
577 Mulberry Street, Suite 720
P.O. Box 4628
Macon, Georgia 31208
478-238-9898
austin(a)mavohill.law




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                      STATE COURT OF BIBB COUNTY
                          STATE OF GEORGIA




                     CIVIL ACTION NUMBER 21-SCCV-092526
   Harden, Doretha Ms.

   PLAINTIFF
                                              V5.
   Family Dollar Stores of Georgia, LLC

   DEFENDANT


                                SUMMONS
   TO: FAMILY DOLLAR STORES OF GEORGIA,LLC

   You are hereby summoned and required to file with the Clerk of said court and serve upan the
   Plaintiffs attorney, whose name and address is;

                             Austin Goble
                             Mayo Hill
                             577 Mulberry Street; Suite 720
                             P.O. Box 4628
                             Macon, Georgia 31201

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive ofthe day of service. If this action pertains to a Protective
   Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
   If you fail to do so,judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 24th day of February, 2021.
                                                    Cleric of State Court




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                                                 Patricia M. Grave , lerk of State Court
                                                                   Bibb County, Georgia




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